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                                Exhibit B
                             (Bankruptcy Petition)
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Debtor        L TL Management LLC                                                                  Case number (if known)                                      _
             Name




 13. Debtor's estimation of               Check one:
     available funds                      Iii Funds will be available for distribution to unsecured creditors.
                                             Ater any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                             149                                 □ 1,000-5,000                                Iii 25,001-50,000
 14. Estimated number of
                                          □ 50-99                                05,001-10,000                                □ 50,001-100,000
     creditors
                                          □ 100-199                              010,001-25,000                                  More than 100,000
                                             200-999

                                          □ $0-$50,000                           D $1,000,001-$10 million                     D $500,000,001-$1 billion
 15. Estimated assets
                                          □ $50,001-$100,000                       $10,000,001-$50 million                    Iii $1,000,000,001-$10 billion
                                          □ $100,001-$500,000                    D $50,000,001-$100 million                   □ $10,000,000,001-$50 billion
                                          D $500,001-$1 million                    $100,000,001-$500 million                  D More than $50 billion

                                          □ $0-$50, 000                            $1,000,001-$10 million                     □ $500,000,001-$1 billion
 16. Estimated liabilities
                                          □ $50,001-$100,000                       $10,000,001-$50 million                    Iii $1,000,000,001-$10 billion
                                          □ $100,001-$500,000                    D $50,000,001-$100 million                   □ $10,000,000,001-$50 billion
                                          D $500,001-$1 million                  D $100,000,001-$500 million                  D More than $50 billion


             Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  11. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                          I declare under penalty of         •     that the foregoing is true and correct.

                                              Executed on
                                                              1O 1                  •
                                                              MM /0

                                           X-----,--F
                                                    ------'--
                                                            - --------                                         _Jo_h_n_K
                                                                                                                       _ .K
                                                                                                                          _ im                                     _
                                                          of authorized representative of debtor               Printed name

                                                         hief Legal Officer




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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                               SECRETARY’S CERTIFICATE

                                         October 14, 2021

        John K. Kim, in his capacity as Secretary of LTL Management LLC, a North Carolina
limited liability company (the “Company”), hereby certifies that (1) the resolutions attached hereto
as Exhibit A (the “Resolutions”) are a complete and accurate copy of the resolutions adopted on
October 14, 2021 by the board of managers of the Company related to the authorization of the
Company to file a voluntary petition for relief under chapter 11 of title 11 of the United States
Code in the United States Bankruptcy Court for the Western District of North Carolina
(the “Chapter 11 Case”) and (2) all the Resolutions are in full force and effect and are all the
resolutions adopted in connection with the filing of the Chapter 11 Case as of the date hereof.



                                  [SIGNATURE PAGE FOLLOWS]




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        IN WITNESS WHEREOF, the undersigned has executed and delivered this certificate as
of the date first written above.


                                             LTL MANAGEMENT LLC,
                                             a Nortj_1 Carz;ina l  d li    y company
                                                                 t: , o/11:
                                             By:   ,�\                  'L�
                                                   me:
                                                � J John K. Kim
                                                 "tle-:. Secretary




                       [Signature Page to Secretary ·s Certificate of Company]
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                                  EXHIBIT A

                                  Resolutions




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                                  LTL MANAGEMENT LLC
                                           Resolutions
                                        October 14, 2021
Chapter 11 Filing

         WHEREAS, the board of managers (the “Board”) of LTL Management LLC, a limited
liability company organized and existing under the laws of the State of North Carolina (the
“Company”) has: (1) carefully reviewed the materials and other information presented by the
management and the advisors of the Company regarding the Company’s talc-related liabilities,
and other relevant information; (2) thoroughly evaluated the Company’s strategic alternatives,
including a possible bankruptcy filing; (3) conferred with the Company’s management and
advisors regarding these matters; and (4) determined that the filing of a voluntary petition for
relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) is in the
best interests of the Company and its stakeholders; and

       NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of the Company, its creditors and other interested parties that
the Company seek relief under the Bankruptcy Code;

        FURTHER RESOLVED, that the Company be, and it hereby is, authorized to file a
voluntary petition (the “Petition”) for relief under chapter 11 of the Bankruptcy Code
(the “Chapter 11 Case”) in the United States Bankruptcy Court for the Western District of North
Carolina or such other court as any of the managers of the Company, the officers of the
Company and their designees (collectively, the “Authorized Persons”) may determine to be
necessary, desirable or appropriate (the “Bankruptcy Court”) and perform any and all such other
acts as any Authorized Person may determine to be necessary, desirable or appropriate to effect
any of the foregoing, with the filing of such Petition or performance of such other act to be
conclusive evidence of such determination; and

        FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized, directed and empowered, in the name and on behalf of the Company, to: (1) execute,
acknowledge, deliver and verify, and cause to be filed with the Bankruptcy Court, the Petition
and all other ancillary documents, with each in such form, as any Authorized Person may
determine to be necessary, desirable or appropriate to carry out the intent and accomplish the
purposes of these resolutions; (2) execute, acknowledge, deliver, verify and file, or cause to be
filed, all petitions, schedules, statements, lists, motions, complaints, declarations, applications,
notices and other papers or documents, with each in such form, as any Authorized Person may
determine to be necessary, desirable or appropriate in connection with the foregoing; and
(3) execute, acknowledge, deliver and verify any and all other documents, with each in such
form, as any Authorized Person may determine to be necessary, desirable or appropriate in
connection therewith and to administer the Chapter 11 Case, including by executing,
acknowledging, delivering, verifying and filing, or causing to be filed, such petitions, schedules,
statements, lists, motions, complaints, declarations, applications, notices and other papers or
documents as may be determined to be necessary, desirable or appropriate in connection with the
Chapter 11 Case; all with the taking of any such action, including any such execution,



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acknowledgment, delivery, verification or filing, to be conclusive evidence of such
determination.

Retention of Professionals

        RESOLVED, that the Authorized Persons be, and each of them hereby is, authorized,
directed and empowered, in the name and on behalf of the Company, to retain (1) Jones Day,
(2) Rayburn Cooper & Durham, P.A., (3) King & Spalding LLP, (4) Shook, Hardy &
Bacon L.L.P., (5) McCarter & English, LLP, (6) Bates White, LLC, (7) AlixPartners, LLP and
(8) such additional professionals, including attorneys, accountants, financial advisors, actuaries,
consultants or agents (together with the foregoing identified firms, the “Professionals”), as any
Authorized Person may determine to be necessary, desirable or appropriate in connection with
the Chapter 11 Case and other related matters, and to execute, deliver and perform retention
agreements with the Professionals in such form and reflecting such terms as any Authorized
Person may approve, all with the retention of any Professional to be conclusive evidence of such
determination and approval; and

        FURTHER RESOLVED, that the law firms of Jones Day and Rayburn Cooper &
Durham, P.A. and any additional special or local counsel selected by any Authorized Persons be,
and each of them hereby is, authorized, directed and empowered to represent the Company, as
debtor and debtor in possession, in connection with any chapter 11 case commenced by or
against the Company under the Bankruptcy Code, including the Chapter 11 Case.

QSF Settlement Facility

       WHEREAS, the Company intends to commence the Chapter 11 Case in the Bankruptcy
Court in accordance with the foregoing resolutions;

       WHEREAS, the Company, as payee, and Johnson & Johnson (“J&J”) and Johnson &
Johnson Consumer Inc. (“JJCI”), as payors, are parties to that certain Amended and Restated
Funding Agreement, dated as of October 12, 2021 (the “Funding Agreement”), which Funding
Agreement is available to provide the Company with funding for, among other things, the
funding of one or more trusts established under the Bankruptcy Code for the benefit of current
and future talc claimants as provided in a plan of reorganization for the Company to the extent
the Company’s other assets are insufficient to satisfy the Company’s liabilities in connection
with such plan and subject to the limitations set forth therein;

        WHEREAS, the Company desires, with the support of J&J and JJCI, to create a
“qualified settlement fund” under section 468B of the Internal Revenue Code of 1986, as
amended, for the purpose of resolving and satisfying current and future talc-related claims
asserted against or related to the Company (the “Settlement Facility”), with J&J and JJCI to
provide the Settlement Facility with aggregate funding of $2 billion in cash; and

       WHEREAS, the Debtor desires to provide for the creation, funding and administration of
the Settlement Facility in accordance with the terms of the settlement facility agreement, in
substantially the form presented to the Board, with J&J, JJCI and the trustee thereunder
(the “Settlement Facility Agreement”).



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       NOW, THEREFORE, BE IT RESOLVED, that it is desirable and in the best interest
of the Company, its creditors and other interested parties that the Company enters into the
Settlement Facility Agreement;

       FURTHER RESOLVED, that the Settlement Facility Agreement, and all of the terms
and provisions thereof and transactions contemplated thereby, be, and each of them hereby is,
approved by the Board;

        FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized, in the name and on behalf of the Company, to file with the Bankruptcy Court in the
Chapter 11 Case a motion to approve the Settlement Facility Agreement and the establishment of
the Settlement Facility pursuant thereto and perform any and all such other acts as are
reasonable, advisable, expedient, convenient, proper or necessary to establish the Settlement
Facility pursuant to the Settlement Facility Agreement, with the performance of such acts to
constitute conclusive evidence of the reasonableness, advisability, expedience, convenience,
propriety or necessity thereof; and

        FURTHER RESOLVED, that, subject to the approval of the Settlement Facility
Agreement and the establishment of the Settlement Facility by the Bankruptcy Court, the
Authorized Persons be, and each of them hereby is, authorized to execute, deliver and perform,
in the name and on behalf of the Company, the Settlement Facility Agreement, with such
modifications thereto as any Authorized Person may determine to be reasonable, advisable,
expedient, convenient, proper or necessary, with the execution and delivery of the Settlement
Facility Agreement to be conclusive evidence of such determination.

General Authority

        RESOLVED, that the Authorized Persons be, and each of them hereby is, authorized and
empowered to execute and deliver such additional agreements, instruments and documents, and
to take such other actions (including the payment of costs and expenses), in the name and on
behalf of the Company, in each case, as any Authorized Person may determine to be necessary,
desirable or appropriate to implement the purposes and intent of the foregoing resolutions, with
the execution and delivery of any such agreement, instrument or document or taking of any such
action by any Authorized Person to be conclusive evidence of such determination;

        FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized and empowered to certify and furnish to any person or entity such copies of
the resolutions set forth herein, and to certify to any person or entity that the resolutions set forth
herein have been duly adopted by the Board, are in full force and effect and are in conformity
with the Articles of Organization and Conversion of the Company and the Operating Agreement
of the Company, as any Authorized Person may determine to be necessary, desirable or
appropriate to implement the purposes and intent of the foregoing resolutions, with the
certification and furnishing of such copies or the certification of such matters to be conclusive
evidence of such determination; and

        FURTHER RESOLVED, that, in the event that any Authorized Person determines
a specific form of resolutions is necessary or advisable in connection with the implementation of



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the purposes and intent of the foregoing resolutions, resolutions in such form be, and they hereby
are, adopted by the Board as if such resolutions were expressly set forth herein and that any
Authorized Person be, and each of them hereby is, authorized and empowered to certify and
furnish to any person or entity copies of such resolutions, and to certify to any person or entity
that such resolutions have been duly adopted by the Board, are in full force and effect and are in
conformity with the Articles of Organization and Conversion of the Company and the Operating
Agreement of the Company, with the certification and furnishing of such copies or the
certification of such matters to be conclusive evidence of such determination.

Ratification

       RESOLVED, that all actions taken in the name and on behalf of the Company prior to
the adoption of these resolutions that would have been authorized by the foregoing resolutions
had they been taken after the adoption of these resolutions be, and each of them hereby is,
approved, adopted, ratified and confirmed in all respects.




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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


In re                                                            Chapter 11

LTL MANAGEMENT LLC,1                                             Case No. 21-_____

                          Debtor.


                             CORPORATE OWNERSHIP STATEMENT

                                        LTL MANAGEMENT LLC

Check one: X DEBTOR ___ PLAINTIFF ___ DEFENDANT ___ OTHER (specify):

Instructions: Federal Rule of Bankruptcy Procedure 7007.1 requires corporate parties to an
adversary proceeding, other than the debtor or a governmental unit, to file a statement of
corporate ownership with the first pleading filed. Similarly, Federal Rule of Bankruptcy
Procedure 1007(a)(1) requires corporate debtors to file a corporate ownership statement with
their petitions containing the information described in Rule 7007.1. Check one of the statements
set forth below and provide any information as directed.

 1. The following corporations directly or indirectly own 10% or more of any class of
     the above named corporate debtor’s/party’s equity interests:2

        DePuy Synthes, Inc.
        700 Orthopaedic Drive
        Warsaw, IN 46582

        Janssen Pharmaceuticals, Inc.
        1125 Trenton-Harbourton Rd.
        Titusville, NJ 08560

        Johnson & Johnson Consumer Inc.
        199 Grandview Road
        Skillman, NJ 08558




1       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
        501 George Street, New Brunswick, New Jersey 08933.
2
        The corporations are listed in alphabetical order.



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        Johnson & Johnson International
        One Johnson & Johnson Plaza
        New Brunswick, NJ 08933

        Johnson & Johnson
        One Johnson & Johnson Plaza
        New Brunswick, NJ 08933

    2. There are no entities that directly or indirectly own 10% or more of any class of the
       above named corporate debtor’s/party’s equity interests.


Date: October 14, 2021
                                    /s/ John K. Kim
                                    Signature of Authorized Individual for Corporate
                                    Debtor/Party


                                    John K. Kim
                                    Printed Name of Authorized Individual for Corporate
                                    Debtor/Party

                                    Chief Legal Officer
                                    Title of Authorized Individual for Corporate Debtor/Party




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    Fill in this information to identify the case:
    Debtor name: LTL Management LLC
    United States Bankruptcy Court for the Western District of North Carolina
    Case Number (if known):
                                                                                                                                                      Check if this is an
                                                                                                                                                          amended filing
Chapter 11 Case: List of 30 Law Firms With the Most Significant
                 Representations of Talc Claimants
The following is an alphabetical list of the law firms with the most significant representations of parties with talc claims against LTL Management LLC, as debtor
(the “Debtor”), based on the volume of filings or other related factors, across the major types of claims faced by the Debtor (the “Top Talc Counsel List”).
Concurrently with this petition, the Debtor has filed a motion seeking authority to file this Top Talc Counsel List in lieu of a list of the 20 largest unsecured
creditors.1 This list does not include any person or entity who is an “insider” under section 101(31) of title 11 of the United States Code. The Top Talc Counsel List
was prepared with information existing as of the date hereof. The Debtor reserves the right to amend the Top Talc Counsel List based on additional information it
may identify. The information contained in the Top Talc Counsel List shall not constitute an admission by, nor shall it be binding on, the Debtor.


        Name of law firm and complete mailing    Name, telephone number, and         Nature of the claim   Indicate if claim   Amount of unsecured claim
        address, including zip code              email address of law firm contact   (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                     debts, bank loans,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                     professional          disputed            total claim amount and deduction for value of
                                                                                     services, and                             collateral or setoff to calculate unsecured claim.
                                                                                     government
                                                                                     contracts)

                                                                                                                               Total claim, if Deduction for        Unsecured claim
                                                                                                                               partially       value of
                                                                                                                               secured         collateral or
                                                                                                                                               setoff
    1    Arnold & Itkin LLP             Kurt Arnold, Caj Boatright, Talc Personal                          Disputed/    N/A                    N/A                  Unliquidated
         1401 McKinney St., Ste. 2250   Roland Christensen, Jason   Injury                                 Contingent/
         Houston, TX 77010              Itkin                                                              Unliquidated
                                        (713) 222-3800
                                        E-mail:
                                        cboatright@arnolditkin.com
                                        christensen@arnolditkin.com
                                        jitkin@arnolditkin.com
    2    Ashcraft & Gerel, LLP          James Green, Patrick Lyons, Talc Personal                          Disputed/    N/A                    N/A                  Unliquidated
         4900 Seminary Road             Michelle Parfitt            Injury                                 Contingent/
         Alexandria, VA 22311           (703) 931-5500                                                     Unliquidated
                                        Email:
                                        jgreen@ashcraftlaw.com
                                        plyons@ashcraftlaw.com
                                        mparfitt@ashcraftlaw.com
    3    Aylstock, Witkin, Kreis &      Mary Putnick, Daniel        Talc Personal                          Disputed/    N/A                    N/A                  Unliquidated
         Overholtz, PLLC                Thornburgh                  Injury                                 Contingent/
         17 East Main St., Ste. 200     (850) 916-7450                                                     Unliquidated
         PO Box 12630                   E-mail:
         Pensacola, FL 32502            marybeth@putnicklegal.com
                                        Dthornburgh@awkolaw.com
    4    Barnes Firm                    Joe Vazquez                 Talc Personal                          Disputed/    N/A                    N/A                  Unliquidated
         420 Lexington Ave., Ste. #2140 (800) 800-0000              Injury                                 Contingent/
         New York, NY 10170             E-mail:                                                            Unliquidated
                                                joe.vazquez@thebarnesfirm.com
    5    Beasley Allen Law Firm                 Charlie Stern                        Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
         218 Commerce Street                    (334) 269-2343                       Injury                Contingent/
         Montgomery, AL 36104                   E-mail:                                                    Unliquidated
                                                charlie.stern@beasleyallen.com



1
             This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors, other
             than insiders, who have the 20 largest unsecured claims against a debtor.
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Debtor Name: LTL Management LLC                                                                               Case Number (if known):
      Name of law firm and complete mailing    Name, telephone number, and         Nature of the claim   Indicate if claim   Amount of unsecured claim
      address, including zip code              email address of law firm contact   (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                   debts, bank loans,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                   professional          disputed            total claim amount and deduction for value of
                                                                                   services, and                             collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)

                                                                                                                             Total claim, if Deduction for        Unsecured claim
                                                                                                                             partially       value of
                                                                                                                             secured         collateral or
                                                                                                                                             setoff
 6     Cellino Law LLP                        Brian Goldstein                      Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       800 Delaware Ave.                      (716) 281-5618                       Injury                Contingent/
       Buffalo, NY 14209                      E-mail:                                                    Unliquidated
                                              brian.goldstein@cellinolaw.com
 7     Dalimonte Rueb Stoller, LLP      John A. Dalimonte, Jennifer                Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       1250 Connecticut Ave. NW         Orendi, Gregory Rueb                       Injury                Contingent/
       Ste. 200                         (202) 883-8334                                                   Unliquidated
       Washington, DC 20036             E-mail: john@drlawll.com
                                        jorendi@drlawllp.com
                                        greg@drlawllp.com
 8     Dean Omar Branham                Jessica Dean                               Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       Shirley, LLP                     (214) 722-5990                             Injury                Contingent/
       302 N. Market St., Ste. 300      E-mail:                                                          Unliquidated
       Dallas, TX 75202                 jdean@dobslegal.com
 9     Driscoll Firm, LLC               John Driscoll                              Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       1 South Church Street, 3rd Floor (314) 932-3232                             Injury                Contingent/
       Belleville, IL 62220                                                                              Unliquidated
 10    Fears Nachawati Law Firm         Darren McDowel                             Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       5473 Blair Road                  (866) 705-7584                             Injury                Contingent/
       Dallas, TX 75231                 E-mail:                                                          Unliquidated
                                        dmcdowell@fnlawfirm.com
 11    Ferraro Law Firm                 Leslie Rothenberg, Jose                    Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       600 Brickell Ave., Ste. 3800     Becerra                                    Injury                Contingent/
       Miami, FL 33131                  (305) 375-0111                                                   Unliquidated
                                        E-mail: lbr@ferraroaw.com
                                        JLB@ferrarolaw.com
 12    Flint Law Firm LLC               Ethan Flint                                Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       222. E. Park St., Ste. 500       (618) 288-4777                             Injury                Contingent/
       PO Box 189                       E-mail: eflint@flintlaw.com                                      Unliquidated
       Edwardsville, IL 62034
 13    Golomb Spirit Grunfeld, P.C.     Richard Golomb, Andrew                     Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
       1835 Market St., Ste. 2900       Spirit, Kenneth Grunfeld                   Injury                Contingent/
       Philadelphia, PA 19103           (215) 278-4449                                                   Unliquidated
                                        E-mail:
                                              kgrunfeld@golombhonik.com
                                              rgolomb@golombhonik.com
                                              aspirt@golombhonik.com
 14    Gori Law Firm                          D. Todd Matthews, Beth     Talc Personal                   Disputed/    N/A                    N/A                  Unliquidated
       156 N. Main Street                     Gori, Sara Salger          Injury                          Contingent/
       Edwardsville, IL 62025                 (618) 659-9833                                             Unliquidated
                                              E-mail:
                                              todd@gorijulianlaw.com
                                              beth@gorijulianlaw.com
                                              sara@gorijulianlaw.com
 15    Honik LLC                              Ruben Honik, David Stanoch Talc Personal                   Disputed/    N/A                    N/A                  Unliquidated
       1515 Market St., Ste. 1100             (267) 435-1300             Injury                          Contingent/
       Philadelphia, PA 19102                 E-mail:                                                    Unliquidated
                                              ruben@honiklaw.com
                                              david@honiklaw.com


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Debtor Name: LTL Management LLC                                                                               Case Number (if known):
      Name of law firm and complete mailing    Name, telephone number, and         Nature of the claim   Indicate if claim   Amount of unsecured claim
      address, including zip code              email address of law firm contact   (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                   debts, bank loans,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                   professional          disputed            total claim amount and deduction for value of
                                                                                   services, and                             collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)

                                                                                                                             Total claim, if Deduction for        Unsecured claim
                                                                                                                             partially       value of
                                                                                                                             secured         collateral or
                                                                                                                                             setoff
 16    Johnson Law Group               Blake Tanase, Basil Adham Talc Personal                           Disputed/    N/A                    N/A                  Unliquidated
       2925 Richmond Ave., Ste. 1700 (713) 626-9336               Injury                                 Contingent/
       Houston, TX 77098                                                                                 Unliquidated
 17    Karst & von Oiste LLP           Eric Karst                 Talc Personal                          Disputed/    N/A                    N/A                  Unliquidated
       23923 Gosling Rd., Ste. A       (281) 970-9988             Injury                                 Contingent/
       Spring, TX 77389                E-mail:                                                           Unliquidated
                                       epk@karstvonoiste.com
 18    Kazan, McClain, Satterly &      Joseph Satterley           Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       Greenwood PLC                   (510) 302-1000             Injury                                 Contingent/
       55 Harrison St., Ste. 400       E-mail:                                                           Unliquidated
       Oakland, CA 94607               jsatterley@kazanlaw.com
 19    Lanier Law Firm                 Michael A. Akselrud        Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       21550 Oxnard Street, 3rd Floor (310) 277-5100              Injury                                 Contingent/
       Woodlands Hills, CA 91367       E-mail:                                                           Unliquidated
                                       Michael.Akselrud@LanierLa
                                       wFirm.com
 20    Levy Konigsberg LLP             Moshe Maimon               Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       101 Grovers Mill Rd., Ste. 105 (609) 720-0400              Injury                                 Contingent/
       Lawrence Twp, NJ 08648          E-mail:                                                           Unliquidated
                                       mmaimon@levylaw.com
 21    Maune Raichle Hartley French T. Barton French              Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       & Mudd, LLC                     (314) 244-1397             Injury                                 Contingent/
       1015 Locust St., Ste. 1200      E-mail:                                                           Unliquidated
       St. Louis, MO 63101             bfrench@mrhfmlaw.com
 22    Miller Firm, LLC                Curtis G. Hoke             Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       108 Railroad Ave.               (540) 672-4224             Injury                                 Contingent/
       Orange, VA 22960                E-mail:                                                           Unliquidated
                                       choke@millermiller.com
 23    Motley Rice LLC                 John D. Hurst              Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       50 Clay St., Ste. 1             (304) 413-0457             Injury                                 Contingent/
       Morgantown, WV 26501            E-mail:                                                           Unliquidated
                                       jhurst@motleyrice.com
 24    Napoli Shkolnik PLLC            James Heisman, Christopher Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       919 North Market St., Ste. 1801 LoPalo                     Injury                                 Contingent/
       Wilmington, DE 19801            (844) 230-7676                                                    Unliquidated
                                       E-mail:
                                       clopalo@napolibern.com
                                       JHeisman@napliLaw.com
 25    OnderLaw, LLC                   James Onder                Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       110 East Lockwood, 2nd Floor (314) 963-9000                Injury                                 Contingent/
       St. Louis, MO 63119             E-mail:                                                           Unliquidated
                                       onder@onderlaw.com
 26    Simmons Hanly Conroy LLC        James Kramer               Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       112 Madison Avenue              (212) 784-6400             Injury                                 Contingent/
       New York, NY 10016              E-mail:                                                           Unliquidated
                                       jkramer@simmonsfirm.com
 27    Simon Greenstone Panatiere      Chris Panatier             Talc Personal                          Disputed/    N/A                    N/A                   Unliquidated
       Bartlett, PC                    (214) 276-7680             Injury                                 Contingent/
       1201 Elm St., Ste. 3400         E-mail:                                                           Unliquidated
       Dallas, TX 75204                cpanatier@sgpblaw.com
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Debtor Name: LTL Management LLC                                                                               Case Number (if known):
      Name of law firm and complete mailing    Name, telephone number, and         Nature of the claim   Indicate if claim   Amount of unsecured claim
      address, including zip code              email address of law firm contact   (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                   debts, bank loans,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                   professional          disputed            total claim amount and deduction for value of
                                                                                   services, and                             collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)

                                                                                                                             Total claim, if Deduction for        Unsecured claim
                                                                                                                             partially       value of
                                                                                                                             secured         collateral or
                                                                                                                                             setoff
 28    Trammell PC                   Fletcher V. Trammell                          Talc Personal         Disputed/    N/A                    N/A                   Unliquidated
       3262 Westheimer Rd., Ste. 423 (800) 405-1740                                Injury                Contingent/
       Houston, TX 77098             E-mail:                                                             Unliquidated
                                     fletch@trammellpc.com
 29    Weitz & Luxenberg, P.C.       Danny Kraft                                   Talc Personal         Disputed/    N/A                    N/A                   Unliquidated
       700 Broadway                  (212) 558-5500                                Injury                Contingent/
       New York, NY 10003            E-mail:                                                             Unliquidated
                                     dkraftjr@weitzlux.com
 30    Williams Hart Law Firm        John Boundas, Sejal                           Talc Personal         Disputed/    N/A                    N/A                   Unliquidated
       8441 Gulf Freeway, Ste. 600   Brahmnhatt, Walt Cubberly,                    Injury                Contingent/
       Houston, TX 77017             Margot Trevino                                                      Unliquidated
                                     (713) 230-2200

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                          UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


In re                                                            Chapter 11

LTL MANAGEMENT LLC,1                                             Case No. 21-_____

                         Debtor.


                                     MASTER CREDITORS LIST

                LTL Management LLC, as debtor in the above-captioned chapter 11 case
(the “Debtor”), filed a petition in this Court on the date hereof for relief under chapter 11 of title
11 of the United States Code (the “Voluntary Petition”). In accordance with Rule 1007(a) of the
Federal Rules of Bankruptcy Procedure, the Debtor filed concurrently herewith a matrix of the
names and addresses of creditors, potential creditors and other parties in interest (the “Master
Creditors List”). The Master Creditors List has been prepared from the books and records of the
Debtor or its predecessor, and contains only those parties whose names and addresses were
maintained in the databases of the Debtor or its predecessor or were otherwise readily
ascertainable by the Debtor prior to the commencement of this chapter 11 case. The Debtor will
update the Master Creditors List as more information becomes available.

                Contemporaneously with the filing of the Voluntary Petition, the Debtor filed a
motion (the “Motion”) requesting, among other things, authority to serve all notices, mailings or
other documents required to be provided to creditors who are claimants in talc-related lawsuits or
other proceedings involving the Debtor, or who have similar claims asserted through counsel
(collectively, the “Talc Claimants”), on the Talc Claimants in care of their counsel at such
counsel’s address in lieu of service on the individual Talc Claimants at their personal addresses.
Accordingly, the Master Creditors List includes the addresses of counsel for each of the Talc
Claimants rather than the addresses of each individual Talc Claimant.

                 Certain of the creditors listed on the Master Creditors List may not hold
outstanding claims against the Debtor and therefore may not be creditors in the Debtor’s
bankruptcy case. By filing the Master Creditors List, the Debtor is not acknowledging that any
listed party is a creditor, nor is it waiving or otherwise affecting its right to object to the extent,
validity or enforceability of the claims, if any, held or asserted by the parties listed on the Master
Creditors List.




1
        The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
        501 George Street, New Brunswick, New Jersey 08933.




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